Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 1 of 19

Feds: Secaucus portfolio
manager charged with wire fraud,
aggravated identity theft

By John Heinis -March 6, 2021 12:00 pm

A portfolio manager and senior independent executive advisor at a Secaucus-
based real estate fund used a sham loan document to defraud an investor out of
hundreds of thousands of dollars, Acting U.S. Attorney Rachel Honig announced.

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Former NRIA Portfolio Manager Thomas Nicholas Salzano. Photo via NRIA.net.

By John Heinis/Hudson County View

Thomas Nicholas Salzano, also known as Nick Salzano, of Secaucus, was
charged by complaint with one count of wire fraud and one count of aggravated

identity theft, Honig said in a statement.

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Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 2 of 19

Salzano appeared by videoconference on Thursday, March 4th before U.S.
Magistrate Judge Leda Dunn Wettre and was released on a $100,000 unsecured
bond.

Salzano was employed at National Realty Investment Advisors (NRIA), a private
real estate management fund with a purported $1.25 billion in assets under

management as of 2021.

In May 2018, Victim 1 purchased three purported units in NRIA‘s real estate
investment fund for $150,000, after hearing an advertisement for the fund on

the radio, according to the

Individual 1, a vice president and senior independent project manager at NRIA,
offered Victim 1 a guaranteed 6 percent return for each unit purchased, paid
monthly, for the first two to two-and-a-half years of the five-year term, and the
potential of greater guaranteed returns after the initial period.

Near the end of 2018, Individual 1 approached Victim 1 about a supposed new
opportunity to become a joint venture partner with NRIA in a property in North

Bergen allegedly owned by NRIA.

According to Individual 1, the minimum investment was $300,000, and Victim 1
could use her original $150,000 investment in the NRIA fund toward the
required $300,000 investment in the North Bergen property.

Victim 1 asked Individual 1 for more information on the North Bergen property.
Individual 1 sent Victim 1 materials purporting to show that NRIA intended to
obtain a $25 million bank loan on the property, described as “a ground up

condo project.”

Victim 1 then asked for information on the loan and Individual 1 referred Victim

1 to Salzano.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 3 of 19

On January 17th, 2019, Salzano emailed Victim 1 a purported letter of intent
(LOI) from Lender 1, a loan provider for estate investors and developers,
purportedly signed by Victim 2, the chief executive officer of Lender 1.

The LOI, sent by Salzano on February 15th, 2019, was fraudulent. A
representative later confirmed that the letter was fraudulent and Victim 2’s

signature was forged.

As a result, Salzano altered his original email to Victim 1, which was below the
February 19th, 2019 email, to falsely make it appear as though he was only
sending Victim 1 a sample draft of an LOI by adding capitalized words to his

original email.

“This took a day to clear release OF A SAMPLE DRAFT OF WHAT IT COULD LOOK
LIKE FOR A LENDER LIKE [Lender 1] on but its a great project and a great

loan,”

The wire fraud charge carries a maximum potential penalty of 20 years in prison
and a fine of $250,000.

The aggravated identity theft charge is punishable by a mandatory sentence of
two years in prison to be served consecutively to any other term of imprisonment
imposed.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 4 of 19

With SEC probe underway,
whistleblower alleges fraud at
Secaucus-based real estate fund

By John Heinis - April 26, 2021 2:24 pm
With a U.S. Securities and Exchange Commission (SEC) probe underway, a
whistleblower is alleging that fraud is taking place at Secaucus-based real
estate fund National Reality Investment Advisors (NRIA), which boasts over $1

billion in assets under management.

Inset photo of Barry Minkow. Background photo via nria.net.

By John Heinis/Hudson County View

“The record shows, FOIA request prove, that in August 2020 I filed a report with
the SEC on a whistleblower statute and filed a report. I was communicating with
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 5of 19

the chair of the SEC before that,” Barry Minkow, 55, exclusively told HCV in a
phone interview.

His filed with the SEC said the NRIA’s conduct is a
fraudulent investment, in particular a Ponzi/pyramid scheme.

“NRIA is offering returns that appear to be unparalleled in the industry. Their
cost of capital is, for lack of a better term, astronomical. They advertise on a
national scale every day for new investors (see point 2) AND they are offering
returns ranging from 10% per year paid monthly,” he wrote, noting that other
commercials made the same claims with 16 and 21 percent.

Minkow later points out that he is not your typical fraud investigator.

“T worked with the SEC uncovering frauds mostly from your Los Angeles office
with Peter Del Greco. We did numerous cases together. However, I returned to
prison for insider trading in 2011 and was released in 2018,” the report says.

“There was never a time when I submitted an investment fraud case to the SEC
that it did not result in a TRO or indictment (public company submissions are
another story and why I went back prison). So in the interest of full disclosure I
am a two-time loser. However, I cannot afford to make another mistake. I do
not believe I am wrong about this entity although I hope am based on the
scope/size of this company’s reach.”

Minkow famously started the ZZZZ Best carpet cleaning company, eventually a
publicly traded company, when he was still in high school, though it collapsed in
1987 and ended up being revealed as a massive Ponzi scheme that cost
investors $100 million.

While he was sentenced to 25 years in prison on charges including racketeering,
securities fraud, money laundering, embezzlement, and bank fraud, he ended
up serving under seven-and-a-half years.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 6 of 19

After a second prison stint for insider trading and church fraud, Minkow has
been focused on uncovering corruption in the private sector, especially when it
comes to Ponzi schemes (his exploits are depicted in the 2018 theatrical release
Con Man).

On August 10th, three days after submitting his report to the SEC, Minkow
engaged in an email conversation with NRIA Senior Project Manager Brian
Harrington asking the implications of doing a five-year, $250,000 investment.

“Your principal will always be secured by the entire portfolio (currently 18
developments valued at $1.2 billion). This structure offers much more diversity
& security than being dependent on just a small number,” according to

Harrington’s emailed response.

Furthermore, the company executive says that if Minkow’s friend invested the
minimum of $50,000, he would receive a “profit-sharing bonus.”

“Your percentage goes up the more your friend invests. I'll send you the bonus
email detailing the percentage from $300K up to $1 million,” Harrington wrote.

“That’s a crime: I believe our report showed clearly that someone at the senior
executive level is corrupt,” Minkow exclaimed over the phone.

On October 9th, the SEC said that they had opened a
formal investigation into the NRIA, seeking Minkow’s documents and
communications related to the Hudson County company.

“Fraud is not compartmentalized: you have an environment there where the
number 1 goal is raising money. Yes, NRIA, has some very nice properties
they’ve bought, they have some very good projects and some very good

partners,” he continued.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 7 of 19

“But that’s all the skin of the truth stuffed with a lie. For example, they double
pledge their real estate holdings resulting in not one of their investors actually
having a real estate secured investment which is what they advertise.”

Last month, former NRIA Portfolio Manager Thomas Nicholas Salzano was
charged by the U.S Attorney’s Office with
after using a sham loan document to defraud an investor out of hundreds

of thousands of dollars.

The criminal complaint in that case identifies Individual 1 as a vice president
and senior independent project manager at NRIA who offered Victim 1 a
guaranteed 6 percent return for each unit purchased, paid monthly, for the first
two to two-and-a-half years of the five-year term, and the potential of greater

guaranteed returns after the initial period.

Near the end of 2018, Individual 1 approached Victim 1 about a supposed new
opportunity to become a joint venture partner with NRIA in a property in North
Bergen allegedly owned by NRIA.

According to Individual 1, the minimum investment was $300,000, and Victim 1
could use her original $150,000 investment in the NRIA fund toward the
required $300,000 investment in the North Bergen property.

Victim 1 asked Individual 1 for more information on the North Bergen property.
Individual 1 sent Victim 1 materials purporting to show that NRIA intended to
obtain a $25 million bank loan on the property, described as “a ground up

condo project.”

Federal prosecutors also said at the time that NRIA has $1.25 billion in assets

under management.

Minkow says that’s just the tip of the iceberg at NRIA, noting that their
executive vice president senior project manager is Arthur Scutaro, while an
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 8 of 19

Arthur Scuttaro is named ina that includes several other

defendants such as Salzano.

Ultimately, Minkow acknowledges that some people may be skeptical of what he
has to say due to his past indiscretions, but he points out that he’s on probation
until June 2022 and could face harsh penalties if he lies to law enforcement.

“I looked at them [NRIA] back in 2019 and started watching their commercials
and reading their social media posts where they advertised ‘Greed is good.’ I'd
been out of jail for like a year and I didn’t want to get back into this, but I
thought to myself, ‘this just doesn’t sound good at all,” Minkow recalled.

“Then I remembered Judge Seitz at my sentencing hearing in Miami telling me
on the record that when I got out, I needed to help people by uncovering fraud
but to stay far away from public companies. And after I found out NRIA is
raising a million dollars a day from the public, I was glad I got involved to
hopefully help people before they lose money.”

Harrington and other NRIA representatives did not return inquiries seeking

comment.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 9 of 19

This N.J. firm promises to make clients
rich. Is it too good to be true?

Updated: Dec. 06, 2021, 6:22 p.m.| Published: Oct. 03, 2021, 6:46 a.m,

A nine-month investigation by NJ Advance Media raises troubling questions about NRIA’s
practices and business connections. JoAnne Coughlin Walsh

By Bill Myers and Kyle Campbell | For NJ.com

The billboards offer an irresistible come-on, the promise of a pristine life on Easy
Street.

“Realty Investment Done Right” one says, alongside an image of a silver-haired
couple riding bicycles on the beach.

Radio ads for the same realty company feature former Fox News personality Bill
O'Reilly, promising a “10-per-cent monthly payout.”

Yes, there is fine print — for one thing, National Realty Investment Advisors will
only accept minimum investments of $100,000. (Hey, it takes money to make money.)
But the Secaucus-based private equity firm portrays its “cash recycling” investment
strategy as foolproof.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 10 of 19

NRIA claims to have amassed $1.25 billion in assets in 15 years in business, focusing
on high-end real estate in gentrifying city neighborhoods and tony suburbs from Palm
Beach to Brooklyn, with stops in Bergen and Hudson counties. The firm also runs
lucrative businesses in India, Dubai and Thailand, selling chances at American green
cards to rich foreigners and their families.

“We're getting a name for ourselves,” NRIA vice president Brian Harrington said last
year in an interview with NJ Advance Media. “We want to be considered an
equivalent option to investors as they would consider companies like Vanguard,
Fidelity.”

The alluring pitch, however, may mask a more sordid reality.

On the morning of March 4, FBI agents surrounded the Secaucus home of the firm’s
then-portfolio manager, Nick Salzano. A tense, hours-long standoff ensued, locking
down the suburban neighborhood. When Salzano eventually surrendered, authorities
charged him with attempting to con an investor as part of a North Bergen housing
development project. Prosecutors say he also forged a multimillion-dollar loan
guarantee in 2019 to squeeze another $150,000 out of a Silicon Valley woman.

The investigation has widened to include other NRIA leaders, including founder Rey
Grabato, and his lieutenant, Coley O’Brien, sources with direct knowledge of the
proceedings said. Grabato’s signature appeared on the doctored loan agreement,
according to federal charging documents.

The U.S. Securities and Exchange Commission and the New Jersey Bureau of
Securities are also investigating, the source said.

Neither NRIA nor any of its other executives, who declined multiple interview
requests, have been accused of any wrongdoing. Through a spokesman, the firm
says it is “actively cooperating with investigators and is making documents and
financial reports available to them,” a spokesman said in a statement.

“Nothing about the charges against Mr. Salzano call into question NRIA’s perfect
investor track record with zero investor losses,” the spokesman said in an email
statement. “Mr. Salzano is charged as an individual. NRIA is not charged with any
wrongdoing and is moving ahead as we continue to provide positive real estate
investment opportunities for sophisticated investors.”
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 11 of 19

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NRIA President Rey Grabato speaks at a groundbreaking ceremony in August for The Grand
apartment development project in West New York.

Regulators have already deposed Grabato and O’Brien, the law enforcement sources
told NJ Advance Media. Both men have declined to answer questions, citing their
Fifth Amendment rights against self-incrimination, the sources said.

Whatever regulators or the FBI decide to do next, they’Il have plenty of questions to
ask. A yearlong investigation by NJ Advance Media raises troubling questions about
the firm’s practices and business connections.

The transformation of a small-time fix-and-flip business into a billion-dollar
investment firm tucked near the banks of the Hackensack River has caught the
attention of market watchers.

Who are the men — they are all men — who comprise its management team,
operating from a 10-story, glass-walled office building in the Meadowlands? And
how has NRIA soared among those “sophisticated investors” despite mass marketing
efforts that resemble TV infomercials, using celebrity pitchmen such as O’Reilly and
NFL legend Lawrence Taylor cutting ribbons in front of swanky townhomes in
Florham Park?

Potential answers only raise more questions.

Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 12 of 19

In digital ads and confidential memos to would-be investors, the firm guarantees a
Bernie Madoff-sized return of at least 12% on investments. One memo suggests that
actual returns might even reach 21%.

“Any time a return is guaranteed, you've got to ask, ‘Why? What's going on? How
can you guarantee a return?” says Toni Caiazzo Neff, an independent compliance
expert based in Boyertown, Pennsylvania, whose whistleblowing led to criminal and
civil charges against a $1.8 billion New York private equity fund and its executives
earlier this year. “When you see a guarantee of a high return with zero risk, that is a
classic red flag.”

The NJ Advance Media investigation also uncovered a relationship between NRIA
and Phil “Disney” McFillin, a convicted mobster and lifelong associate of
Philadelphia’s La Cosa Nostra crime family. McFillin is a friend and partner of Joe
“Seaside” Rocco, another mob associate.

McFillin, now 78, did time in federal prison in the mid-1990s after admitting he shook
down Atlantic City property owners for the mafia. A 1992 New Jersey Crime
Commission report on the Garden State bar scene accused McFillin and Rocco of
running an illegal sports betting operation from the late 1970s through the early
1990s. As recently as 2011, the FBI warned police in South Florida that McFillin was
using front companies in real estate scams and “kicking up” to his old friends in
Philadelphia.

Efforts to reach Rocco were unsuccessful. In a brief phone interview in April, McFillin
acknowledged he had “done some business with” NRIA, “but that was years ago,” he
said.

“My lawyer says I shouldn’t talk to you,” he said, before hanging up. (Tom Carney,
McFillin’s lawyer and a former mayor of Delray Beach, Florida, declined to
comment.)

McFillin served as “an independent consultant locator of properties for numerous”
projects in Philadelphia and Palm Beach County, Florida, the NRIA spokesman said.
McFillin “did successfully locate and assign some limited number of property
purchase contracts,” but he “is and always has been unaffiliated with NRIA in any
way, Shape or form.”

“Like most significant entities in the financial space,” the spokesman added, “we
have been audited, investigated and vetted by government agencies before and have
always come out with our stellar reputation intact.”
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 13 of 19

The Grand apartment development in West New York is just another NRIA project in North
Jersey.

Pioneers?

Rey Grabato’s initial vision was modest.

He wanted to build and renovate houses in Philadelphia, taking advantage of
attractive tax benefits.

Grabato, a Filipino immigrant, launched NRIA in 2006 after serving as a mid-level
executive for local mortgage companies in North Jersey and Pennsylvania.

The new firm focused on flipping homes in gentrifying neighborhoods in
Philadelphia and lining up individual investors with ready-to-move condos,
townhomes and houses. Grabato built his team from the same fix-and-flip scene
where he started.

The 2007-08 real estate crash proved propitious for the firm. While housing prices
plummeted and 3.8 million U.S. homes faced foreclosure, NRIA bought up properties
in droves.

Indeed, NRIA is one of thousands of private equity companies that rose and soared
from the ashes of the Great Recession. Loopholes carved into reforms passed under

Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 14 of 19

the Obama Administration absolved such companies — called exempt reporting
advisers — from registering with federal or state regulators.

The exempt reporting market has nearly doubled since the financial crisis. Last year,
it was worth $1.5 trillion — larger than all public markets, such as the New York
Stock Exchange, combined, SEC records show.

Grabato, 42, became one of the most active developers in Philadelphia, North Jersey
and Delray Beach, Florida. By 2015, NRIA claimed its investors had obtained more
than $400 million in equity from just $30 million in investments.

It pulled off those seemingly miraculous returns, NRIA claimed, because it had
“pioneered” what it called its “cash recycling” system. Most private equity firms
raise money from wealthy investors or large institutions such as state pension funds
under strict agreements. Typically, the agreements promise returns within a few
years or a few months. They also require the money to go specifically to the agreed-
upon investment — say, office buildings in Bergen County.

If the investment in Bergen County offices pays off dramatically and quickly, private
equity firms can, under rare circumstances, cash out on that project and reinvest the
profits elsewhere. It’s rare enough on its own for singular investments, because
investor agreements tend to be tightly written. It’s unheard of for a firm to base its
entire strategy on cash recycling.

A growing chorus of critics — including SEC Chairman Gary Gensler — say it’s time
to put an end to the kind of self-regulation that has allowed companies like NRIA to
flourish. Gensler has put exempt private funds at the top of his reform agenda.

“The reality is, for many of these cases, nobody is going to know until the horse is
long out of the barn that the issuer is doing business in the states, and that’s a
problem,” says Rick Barry, the former enforcement chief for the New Jersey Bureau of
Securities. “When there is a problem with exempt offerings, by the time it all gets
uncovered, the money is usually gone. And it’s expensive (and) difficult — if not
impossible — to recover any money.”

Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 15 of 19

NRIA claims to have amassed $1.25 billion in assets in 15 years in business, focusing on high-
end real estate in gentrifying city neighborhoods and tony suburbs. JoAnne Coughlin Walsh

While Nick Salzano had been with NRIA from its launch, the Salzano imprint on the
firm stretches beyond just the former manager. In 2007, he brought in a young
relative, Dustin Salzano, who is an advisor to NRIA’s board and whose construction
company partners with the firm on projects. Another young relative, Bethany Salzano
Stafirny, became director of investor relations in 2012.

Although Nick Salzano is the only NRIA employee charged with wrongdoing,
federal agents identified Grabato as “Individual 2, the president and chief executive
officer of NRIA,” in the charging documents. They say Grabato’s signature was on
the doctored loan agreement. They also say once the investor discovered the
fabrication, an unidentified NRIA senior vice president — “Individual 1” — tried to
talk her out of getting her money back.

But the progression of the case offers still more intrigue.

In white collar fraud cases, it’s common for prosecutors to send a target letter to those
at the center of an investigation. This is routine in cases like Salzano’s, where
authorities don’t think the fraud is ongoing.

The target letter usually warns that prosecutors are ready to bring a case to a grand
jury and gives the target a chance to speak with prosecutors, off the record, about the
investigation. If a deal can’t be worked out, prosecutors then move to indict the

defendant.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 16 of 19

Yet federal authorities surrounded Salzano’s home without indicting him, despite
prosecutors alleging that the fraud ended in 2019.

Officials at New Jersey’s FBI field office and the U.S. Attorney’s Office declined to
comment.

Jeff Harris, Nick Salzano’s attorney, waived his client’s right to a preliminary hearing,
leading some observers to speculate that he is hoping to work out a plea deal.
Prosecutors agreed to continue his case until the fall “in the interests of justice,” which
hasn’t quieted the gossip. Salzano’s attorney declined to comment. Salzano is free
pending trial.

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U.S. Sen. Robert Menendez speaks at a ceremonial groundbreaking in November 2019 marking
the start of construction on The Station, a luxury high-rise in West New York's business district,
another NRIA project. Reena Rose Sibayan | The Jersey Journal

A new horizon

Grabato hired a new partner in 2016. Coley O’Brien wasn’t like the firm’s other
managers.

An alumnus of Morgan Stanley, O’Brien had spent the previous six years as a
director at MKB Capital Management, a $9 billion hedge fund with offices in London
and New York.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 17 of 19

The Michigan native, bespectacled with an iron jaw and close-cropped brown hair,
brought with him the dash of a Wall Street raider.

Soon NRIA was trying something new.

Under federal law, private equity companies with $150 million or more in assets
under management must register as investment advisers with the SEC. They’re
required to file an annual public report describing their organization and quarterly
confidential reports to help regulators monitor risk and compliance.

But there’s a huge exception. Under the 2012 JOBS Act, private funds were allowed to
make “general solicitations” — that is, sell their wares to the public — as long as they
sold only to “accredited investors,” wealthy people or organizations. Such “exempt”
funds must file founding paperwork with the SEC once they make a sale, but are not
required to issue follow-up reports.

Before O’Brien’s hiring, NRIA had never floated its own exempt private equity fund.
By the time his first year was over, the firm had created eight of them, all focused on
real estate in Brooklyn. Since 2016, it has launched at least 16 different funds, SEC
records show.

The early goals were conservative — NRIA hoped to raise a little more than $8
million through those first funds. But the filings showed that a small, fix-and-flip
shop can navigate the Byzantine world of high finance and make its own claim to
empire.

Only one of those funds — the NRIA Partners Portfolio Fund I, launched in 2018 —
seems to have attracted any backers. But that’s apparently been enough. The fund
had raised more than $459 million from 1,385 investors, according to an amended
report the firm filed March 18 with the SEC. That’s more than double the fund’s
earnings from last summer, records show.

The Partners Portfolio investments, in turn, have allowed NRIA to borrow even more
money. Up to 75% of its assets come through debt, the company said in a confidential
2020 memo to would-be investors.

O’Brien has been rewarded handsomely for his contributions.

Grabato named O’Brien co-chief investment officer, NRIA’s second-in-command.
Grabato also made O’Brien minority owner of the firm through one of O’Brien’s front
companies. (Registering his front company as co-owner rather than himself gives
O’Brien some immunity from personal liability should anything go wrong with the
firm.)
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 18 of 19

“Our success is dependent on our key personnel,” the firm says in that confidential
2020 memo. “We believe that our success will depend on continued retention by us of
our officers and advisors, especially including Rey Grabato, our President ... and D.
Coley O’Brien, co-CIO.”

While it was building its fortunes and its profile through aggressive advertising,
NRIA also forged a relationship with old-school business partners who weren't
interested in advertising at all — McFillin and Rocco.

In November 2014, NRIA bought development rights to land in the 200 block of Front
Street in Philadelphia, city records show. The firm dubbed the project Franklin
Village. NRIA bought the rights from 107 Callowhill Street LP, a company that had
purchased the property just a week earlier, according to records.

Callowhill’s founding manager is Joe Rocco, according to the Pennsylvania
Department of State’s Corporation Bureau records. He and McFillin are partners in
dozens of ventures in New Jersey, Philadelphia and Florida, records show.

NRIA would go back to McFillin often over the next several years, public records
show. In Philadelphia alone, McFillin or Rocco were involved in at least four other
NRIA projects between April 2015 and February 2017.

They’ve even been partners in litigation. In 2015, a rival property developer sued
McFillin and NRIA, alleging that he had been swindled in a deal for townhouses in
100 block of Front Street. NRIA settled out of court. McFillin won on a pretrial
motion, court records show.

There is also at least one curious transaction involving personal overlap between
McFillin/Rocco and Grabato, in Philadelphia. In February 2020, Grabato bought a
home under his own name from Meagan and Philip Ortega for $675,000. The couple
had bought the home in February 2017 from Pelican Investment Group LLC. Pelican
is another McFillin/Rocco company, Florida and Pennsylvania business records show.

The relationship hasn’t gone in just one direction. Palm Beach County property
records show that Grabato sold land in Delray Beach to one of McFillin’s companies
in July 2020.

Grabato bought the property through one of his front companies in 2017, the records
show. He paid more than $3 million. In July 2020, Grabato sold it to McFillin for $2.5
million. Eight months later, McFillin sold the same land for $3.9 million, records
show.
Case 23-01335-JKS Doc 84-60 Filed 07/10/24 Entered 07/10/24 18:12:30 Desc
Plaintiffs Ex.114 Page 19 of 19

Despite the scrutiny Salzano’s arrest has brought the company, NRIA’s quest for
growth continues.

On March 24 — three weeks after the standoff in Secaucus — NRIA filed paperwork
with the SEC to launch a new fund. The minimum investment will be $1 million, the
company says. The goal is to raise another $250 million.

Salzano is due back in court Nov. 30.

CORRECTION: A previous version of this story contained a number of errors that have been
corrected. Due to an editing error, the story incorrectly referred to Bill O’Reilly’s role — he
has appeared in radio ads for NRIA, but not on billboards. The story also included a quote
from an out-of-date version of the company’s website — that quote has been removed from
the story. The minimum investment required to invest with NRIA changed from $1,000,000
to $100,000 in June. The story mischaracterized the amount Meagan and Philip Ortega
paid for their home; it was $$608,115, not $1. The story also implied that NRIA had a
longstanding relationship with Joe “Seaside” Rocco. Records show Rocco involved in only
one transaction with the company.

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